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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                               )
In re:                                                         )    Chapter 11
                                                               )
ENERGY FUTURE HOLDINGS CORP., et al.,1                         )    Case No. 14-10979 (CSS)
                                                               )
                            Debtors.                           )    Jointly Administered
                                                               )

           GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS
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         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS


Energy Future Holdings Corp. and its affiliated debtors and debtors in possession in the above-
captioned chapter 11 cases (collectively, t      Debtors , commenced on April 29, 2014 (the
 Petition Date    have filed their respective Schedules of Assets and Liabilities (collectively, the
 Schedules and Statements of Financial Affairs (                      Statements
with the Schedules, the Schedules and Statements
                                 Bankruptcy Court
advisors, prepared the Schedules and Statements in accordance with section 521 of title 11 of the
                           Bankruptcy Code
                Bankruptcy Rules

Michael L. Carter, Senior Vice President Corporate Planning and Assistant Treasurer of Energy
Future Holdings           EFH Corp.     , in his capacity as an authorized agent at each of the
Debtors, has signed the Schedules and Statements for each of the Debtors except (a) Luminant
Energy Company LLC, (b) Luminant ET Services Company, and (c) Luminant Energy Trading
                           Luminant Energy Entities
Management for EFH Corporate Services Company, in his capacity as an authorized agent at
each of the Luminant Energy Entities, has signed the Schedules and Statements on behalf of the
Luminant Energy Entities. In reviewing and signing the Schedules and Statements, Mr. Carter
and Mr. Nutt have necessarily relied upon the efforts, statements, and representations of various
personnel of the Debtors. Neither Mr. Carter nor Mr. Nutt has (nor could have) personally
verified the accuracy of each such statement and representation, including statements and
representations concerning amounts owed to creditors.




1
                                                                                                    The location of the
                                  1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information may
                                                                                                                  .
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These Global Notes and Statement of Limitations, Methodology, and Disclaimer Regarding
                                     Global Notes
and comprise an integral part of all of the Schedules and Statements. The Global Notes should
be referred to and reviewed in connection with any review of the Schedules and Statements.

The Schedules and Statements do not purport to represent financial statements prepared in
                                                                                    GAAP
are they intended to be fully reconciled to the financial statements. The Schedules and
Statements contain unaudited information that is subject to further review and potential
adjustment. In preparing the Schedules and Statements, the Debtors relied on financial data
derived from their books and records that was available at the time of such preparation. Although
the Debtors have made reasonable efforts to ensure the accuracy and completeness of such
financial information, subsequent information or discovery may result in material changes to the
Schedules and Statements. As a result, the Debtors are unable to warrant or represent that the
Schedules and Statements are without inadvertent errors, omissions, or inaccuracies some of
which may be material.

                        General Disclosures Applicable to Schedules and Statements

         1.     General Reservation of Rights.         Nothing contained in the Schedules and
Statements shall constitute a waiver of any of the Debtors
their chapter 11 cases, including any issues involving substantive consolidation, equitable
subordination, defenses, and/or Claims2 or causes of action arising under the provisions of
chapter 5 of the Bankruptcy Code and any other applicable laws to recover assets or avoid
transfers. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph.
       2.      References. Reference to the applicable loan agreements and related documents
is necessary for a complete description of the collateral and the nature, extent, and priority of
liens. Nothing in the Global Notes or the Schedules and Statements shall be deemed a
modification or interpretation of the terms of such agreements.
          3.       Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
       4.       Paid Claims. The Bankruptcy Court authorized (but did not direct) the Debtors to
pay certain outstanding prepetition Claims pursuant to various orders entered by the Bankruptcy
Court. Accordingly, certain outstanding liabilities may have been reduced by post-petition
payments made on account of prepetition liabilities. To the extent the Debtors pay any of the
Claims listed in the Schedules and Statements pursuant to any orders entered by the Bankruptcy
Court, the Debtors reserve all rights to amend or supplement the Schedules and Statements or
take other action such as filing Claims objections, as is necessary and appropriate to avoid over
payment or duplicate payments for liabilities.
        5.     Amendments and Supplements.      While the Debtors made reasonable efforts to
file complete and accurate Schedules and Statements, inadvertent errors or omissions may exist.

2
    As used herein, t               has the meaning set forth in section 101(5) of the Bankruptcy Code.


                                                         2
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The Debtors reserve all rights to amend or supplement the Schedules and Statements as is
necessary and appropriate.
        6.      Recharacterization.   Notwithstanding that the Debtors have made reasonable
efforts to correctly characterize, classify, categorize, or designate certain Claims, assets,
executory contracts, unexpired leases, and other items reported in the Schedules and Statements,
the Debtors nonetheless may have improperly characterized, classified, categorized, or
designated certain items.          The Debtors reserve all rights to recharacterize, reclassify,
recategorize, or redesignate items reported in the Schedules and Statements at a later time as is
necessary and appropriate.
        7.      Liabilities.   The Debtors allocated liabilities between the prepetition and
postpetition periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available and
further research is conducted, the allocation of liabilities between the prepetition and postpetition
periods may change.
       8.      Insiders.   For purposes of the Schedules and Statements, persons listed as
                                                              . The Debtors do not take any
position with respect to: (a) such perso                               of the Debtors; (b) the
management responsibilities or functions of such individual; (c) the decision-making or
corporate authority of such individual; or (d) whether such individual could successfully argue
                                    nder applicable law, including the federal securities laws, or
with respect to any theories of liability or for any other purpose. Amounts paid on behalf of

employees, have not been included.
       9.      Intercompany Claims.        Receivables and payables among the Debtors in these
cases and their affiliates are reported on Schedule B and Schedule F, respectively. For additional

protocols, see Motion of Energy Future Holdings Corp., et al., for Entry of an Order (A)
Authorizing the Debtors to (I) Continue Using Their Existing Cash Management System, (II)
Maintain Existing Bank Accounts and Business Forms, and (III) Continue Using Certain
Investment Accounts; (B) Authorizing Continued Intercompany Transactions and Netting of
Intercompany Claims; and (C) Granting Postpetition Intercompany Claims Administrative
Expense [D.I. 37].
         10.    Intellectual Property Rights.     Exclusion of certain intellectual property shall not
be construed to be an admission that such intellectual property rights have been abandoned, have
been terminated or otherwise expired by their terms, or have been assigned or otherwise
transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
intellectual property shall not be construed to be an admission that such intellectual property
rights have not been abandoned, have not been terminated or otherwise expired by their terms, or
have not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
transaction. The Debtors have made every effort to attribute intellectual property to the rightful
Debtor owner, however, in some instances intellectual property owned by one Debtor may, in
fact, be owned by another. Accordingly, the Debtors reserve all of their rights with respect to the
legal status of any and all such intellectual property rights.

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        11.    Executory Contracts. The Debtors have not set forth executory contracts as assets
in the Schedules and Statements. The Debtors
Schedule G. In addition, the businesses of the Debtors are complex while the Debtors have
made diligent attempts to properly identify all executory contracts and unexpired leases,
inadvertent errors, omissions, or over inclusion may have occurred.
        12.    Setoffs. The Debtors incur certain setoffs and other similar rights from customers
or suppliers in the ordinary course of business. Setoffs in the ordinary course can result from
various items, including, but not limited to, intercompany transactions, pricing discrepancies,
returns, refunds, debit memos, credits, and other disputes between the Debtors and their
suppliers. These normal setoffs and other similar rights are consistent with the ordinary course
of business in the Debtors
burdensome and costly for the Debtors to list such ordinary course setoffs. Therefore, although
such setoffs and other similar rights may have been accounted for when scheduling certain
amounts, setoffs are not independently accounted for, and as such, certain set offs may be
excluded from the Schedules and Statements.
       13.     Claims Description.       Any failure to designate a Claim
Sc

The Debtors reserve all rights to dispute any Claim reflected on their respective Schedules and
Statements on any grounds, including, without limitation, liability or classification, or to
otherwise subsequently designate such Claim
          14.     Excluded Assets and Liabilities. The Debtors have excluded certain categories of
assets, tax accruals, and liabilities from the Schedules and Statements, including accrued salaries,
employee benefit accruals, certain deposits, and deferred gains. The Debtors also have excluded
rejection damage Claims of counterparties to executory contracts and unexpired leases that may
be rejected, to the extent such damage Claims exist. In addition, certain immaterial assets and
liabilities that are not reported or tracked centrally may have been excluded.
         15.    Causes of Action.         Despite reasonable efforts, the Debtors may not have
identified and/or set forth all of their causes of action (filed or potential) against third parties as
assets in their Schedules and Statements. The Debtors reserve all rights with respect to any
causes of action and nothing in the Global Notes or the Schedules and Statements shall be
deemed a waiver of any such causes of action.
        16.     Confidential or Sensitive Information. There may be instances in which certain
information in the Schedules and Statements intentionally has been redacted due to the nature of
an agreement between a Debtor and a third-party, concerns about the confidential or
commercially sensitive nature of certain information, or concerns for the privacy of an
individual. Additionally, employee addresses have been removed from entries listed on the
Schedules and Statements, where applicable.
       17.     Current Market Value          Net Book Value. Unless otherwise indicated, the
Schedules and Statements reflect net book values. The Debtors reserve all rights related to the
net book value reflected in the Schedules and Statements.



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       18.     Undetermined Amounts


         19.     Totals. All totals that are included in the Schedules and Statements represent
totals of all known amounts included in the Debtors                           the Petition Date.
To the extent there are unknown or undetermined amounts, the actual total may be different than
the listed total. To the extent a Debtor is a guarantor of debt held by another Debtor, the


        20.                    . The inventories, property, and equipment listed in the
Statements and Schedules are presented without consideration of any asserted          ,
materialmen, or similar liens.
       21.    Letters of Credit. Amounts due and payable as of the Petition Date as listed
herein do not reflect draws on letters of credit unless such draws were made by a third-party,
non-Debtor or unless noted otherwise.

                        General Disclosures Applicable to Statements
       1.     Question 1. The revenue amounts listed in response to Question 1 include
amounts received by the Debtors from other Debtors.
        2.     Question 2. The amounts listed in response to Question 2 include amounts
received by the Debtors from other Debtors.
        3.       Question 3(b). The information provided lists payments made by a Debtor on
behalf of itself or on behalf of another Debtor in accordance with routine business practices. The
response to Question 3(b) includes any disbursement or other transfer made by the Debtor except
for those made to (a) insiders or other Debtors (which payments appear in response to Statement
question 3(c)); (b) non-insider employees; and (c) bankruptcy professionals (which payments
appear in response to Statement question 9).
        4.       Question 3(c). The amounts listed in response to question 3(c) include payments
or transfers (including net allocations associated with the money pool amounts described in the
Cash Management Motion) made to or from a Debtor to another Debtor during the one year
preceding April 29, 2014. To the extent the Debtor is a holder of a security issued by another
Debtor, the Debtor periodically receives cash or stock distributions, or interest payments, and
any such distributions or interest payments made in the one year preceding April 29, 2014 are set
forth in the rider attached to Question 3(c).
        5.       Question 8. The Debtors occasionally incur losses for a variety of reasons,
including theft, bodily injury, and property damage. Although such losses are tracked internally
and subject to internal review processes before payments are authorized, the Debtors, may not
have records of all such losses to the extent such losses do not have a material effect on a


        6.       Question 9. The response to Question 9 identifies which Debtor made a payment
in the first instance on behalf of professionals the Debtors seek to retain under section 327of the
Bankruptcy Code and does not reflect subsequent intercompany allocations of payments. In


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addition, for any given payment, multiple Debtor entities may have made a partial payment. For
a complete analysis of any Debtor entity that may have made a partial payment with respect to
any payment obligation, please see collectively the response to Question 9 set forth for EFH
Corp., ., EFH Corporate Services Company, Energy Future Holdings Corp., Energy Future
Intermediate Holding Company LLC, Texas Competitive Electric Holdings Company LLC
          7.  Question 15.    The Debtors have only listed changes to the address of the
corporate headquarters and have excluded any changes of address for ancillary locations or
facilities.
        8.      Question 20. Energy Future Holdings Corp. maintains various Sarbanes-Oxley
controls related to the various inventories and the inventory measurement processes used by the
Debtors. These controls are reviewed on a monthly, quarterly, or annual basis, depending on the
specific controls.
       9.     Question 21. Every individual identified on the rider attached to the applicable
Debtor in response to Question 21 was formally voted in by vote of the board of directors or
board of managers, as applicable.
         10.     Question 22. Any response to Question 22 includes only those individuals that
have terminated their relationship with the listed Debtor as either a director or officer, and does
not include individuals that have simply changed their title but who have otherwise maintained
their relationship as a director or officer.

                         General Disclosures Applicable to Schedules
        1.     Classifications. Listing a Claim (a                                 b) on Schedule
                    c


contract.
       2.      Schedule A. Except where otherwise noted, the Debtors have included the book
value of owned real property assets held by each Debtor on Schedule A. Certain de minimis real
property assets that are not reported or tracked centrally may have been excluded.
        3.      Schedule B. Certain of the Debtors            y, fixtures, equipment, and supplies
used in business are not capitalized in some situations, generally because the related dollar
amounts are not material, and, consequently, may not be listed on Schedule B. To the extent a
Debtor is party to one or more ISDAs, EEI, and/or master netting agreements that provide for the
mutual netting of payment and/or collateral obligations, the amounts listed for such Debtor in
Schedule F reflect such mutual netting. Notwithstanding the foregoing, the Debtors reserve all
rights related to the netting provisions provided for in such ISDAs, EEIs, and master netting
agreements.
        4.     Schedule D. The Claims listed on Schedule D arose or were incurred on various
dates; a determination of the date upon which each Claim arose or was incurred would be unduly
burdensome and cost prohibitive. Accordingly, not all such dates are included for each Claim.


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All Claims listed on Schedule D, however, appear to have arisen or were incurred before the
Petition Date.
       Except as otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy
Court, the Debtors reserve their rights to dispute or challenge the validity, perfection, or
immunity from avoidance of any lien purported to be granted or perfected in any specific asset of
a secured creditor listed on Schedule D of any Debtor. Moreover, although the Debtors have
scheduled Claims of various creditors as secured Claims, the Debtors reserve all of their rights to
                                                                im or the characterization of the

Further, while the Debtors have included the results of Uniform Commercial Code searches, the
listing of such results is not nor shall it be deemed an admission as to the validity of any such
lien. The descriptions provided in Schedule D are solely intended to be a summary and not an
admission of liability. The Debtors made reasonable, good faith efforts to include all known
liens on Schedule D but may have inadvertently omitted to include an existing lien because of,
among other things, the possibility that a lien may have been imposed after the Uniform
Commercial Code searches were performed or a vendor may not have filed the requisite
perfection documentation.
         Except as specifically stated on Schedule D, real property lessors, utility companies, and
other parties that may hold security deposits have not been listed on Schedule D. The Debtors
reserve all of their rights to amend Schedule D to the extent that the Debtors determine that any
Claims associated with such agreements should be reported on Schedule D.
          Moreover, the Debtors have not included on Schedule D parties that may believe their
Claims are secured through setoff rights or inchoate statutory lien rights. Although there are
multiple parties that hold a portion of the debt included in the Debtors
facilities, only the administrative agents have been listed for purposes of Schedule D. The
amounts outstanding under the Debtors prepetition loan facilities reflect approximate amounts
as of the Petition Date.
        5.      Schedule E. The listing of any Claim on Schedule E does not constitute an
admission by the Debtors that such Claim is entitled to priority treatment under section 507 of
the Bankruptcy Code. The Debtors reserve all of their rights to dispute the amount and the
priority status of any Claim on any basis at any time. All Claims listed on the Debtors
Schedule E are Claims owing to various taxing authorities to which the Debtors may potentially
be liable. Certain of such Claims, however, may be subject to ongoing audits and the Debtors
are otherwise unable to determine with certainty the amount of many, if not all, of the remaining
Claims listed on Schedule E. Accordingly, the Debtors have listed all such Claims as unknown
in amount, pending final resolution of ongoing audits or other outstanding issues.
        6.      Schedule F. The Debtors have used reasonable efforts to report all general
unsecured Claims against the Debtors on Schedule F based upon the Debtors existing books and
records as of the Petition Date. The Claims of individual creditors for, among other things,
products, goods, or services are listed as either the lower of the amounts invoiced by such
creditor or the amounts entered on the Debtors books and records and may not reflect credits or
allowances due from such creditors to the applicable Debtors. In addition, certain Claims listed
on Schedule F may be entitled to priority under section 503(b)(9) of the Bankruptcy Code.

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          Schedule F contains information regarding pending litigation involving the Debtor. The
dollar amount of potential Claims associated with any such pending litigation is listed as
                             d as contingent, unliquidated, and disputed in the Schedules and
Statements except to the extent such Claims have already escheated to the estate. Some of the
litigation Claims listed on Schedule F may be subject to subordination pursuant to section 510 of
the Bankruptcy Code. Schedule F also includes potential or threatened legal disputes that are not
formally recognized by an administrative, judicial, or other adjudicative forum due to certain
procedural conditions that counterparties have yet to satisfy.

        The Debtors assumed current customer contracts and established October 27, 2014, as the
                                                                      Customer Bar Date
Debtors claims and noticing agent, Epiq, completed its service of the Customer Bar Date
materials on April 30, 2014 [D.I. 212]. Since the Customer Bar Date was established,
approximately 2,100 customer Claims have been filed on the Epiq claims register. Such Claims
have not been listed on this Schedule F but may be found on the claims register.
       The Debtors are
above, may be disputing the rates the Debtors charge or have charged and the services the
Debtors is providing or has provided, and the Debtor reserves all rights related to such disputes,
whether or not scheduled herein.
        Schedule G. While every effort has been made to ensure the accuracy of Schedule G,
inadvertent errors or omissions may have occurred. Each unexpired lease listed in Schedule G
may include one or more ancillary documents, including any underlying assignment and
assumption agreements, amendments, supplements, full and partial assignments, renewals and
partial releases. Certain of the leases and contracts listed on Schedule G may contain certain
renewal options, guarantees of payment, options to purchase, rights of first refusal, and other
miscellaneous rights. Such rights, powers, duties, and obligations are not set forth on Schedule
G. In addition, the Debtors may have entered into various other types of agreements in the
ordinary course of business, such as financing agreements, subordination, nondisturbance
agreements, supplemental agreements, amendments/letter agreements, title agreements, and
confidentiality agreements. Such documents may not be set forth on Schedule G. Certain of the
contracts, agreements, and leases listed on Schedule G may have been entered into by more than
one of the Debtors. Further, the specific Debtor obligor to certain of the executory contracts
could not be specifically ascertained in every circumstance. In some cases, the same supplier or
provider appears multiple times in Schedule G.          This multiple listing is to reflect distinct
agreements between the applicable Debtor and such supplier or provider. In such cases, the
Debtors made their
such executory contracts or unexpired leases. Certain of the executory contracts may not have
been memorialized in writing and could be subject to dispute.
       In addition, certain of the Debtors, along with other Debtors, are party to a Restructuring
                      RSA
                                                  plete analysis of the Debtors that are party to an


       Finally, although the Debtors maintain insurance policies for the benefit of every Debtor,
the Debtor EFH Corp. is the named insured on each of the insurance policies. As a result, all of

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                                                                                          The Debtors
hereby reserve all of their rights to dispute the validity, status, or enforceability of any contracts,
agreements, or leases set forth in Schedule G and to amend or supplement such Schedule as
necessary. Inclusion of any agreement on Schedule G does not constitute an admission that such
agreement is an executory contract or unexpired lease, and the Debtors reserve all rights in that
regard, including, that any agreement is not executory, has expired pursuant to its terms, or was
terminated prepetition.
        7.       Schedule H. For purposes of Schedule H, only the agent under the prepetition
loan facility is listed for Claims arising thereunder.     Instead, all such listings can be found on
the applicable Deb                         Statement Question 4(a).




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                                                                  United States Bankruptcy Court
                                                                                                       District Of Delaware


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        Oak Grove Mining Company LLC                                                                                              <&=9">0?":::::::::::::::::::
                                                                                                                                           14-11024 (CSS)
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                                                                                      SUMMARY OF SCHEDULES
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                                                                                   ATTACHED
 NAME OF SCHEDULE                                                                   (YES/NO)           NO. OF SHEETS               ASSETS              LIABILITIES              OTHER

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                                    """"""""""""""""""""""""""""""""""""""""""""""""""""""""""""""
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B6A (Official Form 6A) (12/07)

In re   Oak Grove Mining Company LLC                              ,                                                        Case No. 14-11024 (CSS)
                       Debtor                                                                                                                  (If known)

                                                SCHEDULE A – REAL PROPERTY
     Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the p roperty by placing an “H,” “W,” “J,” or
“C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “De scription and Location of
Property.”

   Do not include interests in executory contracts and unexpired leases on this schedule. List t hem in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Sch edule D. If no entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

    If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property onl y in Schedule C - Property
Claimed as Exempt.




                                                                                          HUSBAND, WIFE, JOINT,
         DESCRIPTION AND




                                                                                            OR COMMUNITY
           LOCATION OF                            NATURE OF DEBTOR’S                                                CURRENT VALUE                   AMOUNT OF
            PROPERTY                             INTEREST IN PROPERTY                                                 OF DEBTOR’S                    SECURED
                                                                                                                      INTEREST IN                     CLAIM
                                                                                                                  PROPERTY, WITHOUT
                                                                                                                    DEDUCTING ANY
                                                                                                                    SECURED CLAIM
                                                                                                                     OR EXEMPTION


 Kosse Mine - located on approximately           Fee Simple                                                       $21,767,063.76 (Net Book Value)
 27,220 acres located at 4731 E. SH 7, Kosse,
 TX 76653




                                                                                                                  $ 21,767,063.76
                                                                                     Total ►

                                                                                     (Report also on Summary of Schedules.)
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B6B (Official Form 6B) (12/07)


In re Oak Grove Mining Company LLC                                  ,                                    Case No. 14-11024 (CSS)
                        Debtor                                                                                           (If known)


                                          SCHEDULE B – PERSONAL PROPERTY
       Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husba nd, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

     Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Loc ation of Property.” If the
property is being held for a minor child, simply state the child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a minor
child, by John Doe, guardian,” Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                             CURRENT VALUE OF




                                                                                                                     OR COMMUNITY
                                                  N                                                                                          DEBTOR’S INTEREST
                                                  O                                                                                          IN PROPERTY, WITH-
          TYPE OF PROPERTY                                         DESCRIPTION AND LOCATION
                                                  N                                                                                          OUT DEDUCTING ANY
                                                                         OF PROPERTY
                                                  E                                                                                            SECURED CLAIM
                                                                                                                                                OR EXEMPTION

1. Cash on hand.                                  X

2. Checking, savings or other financial           X
accounts, certificates of deposit, or shares in
banks, savings and loan, thrift, building and
loan, and homestead associations, or credit
unions, brokerage houses, or coopratives.

3. Security deposits with public utilities,       X
telephone companies, landlords, and others.

4. Household goods and furnishings,               X
including audio, video, and computer
equipment.

5. Books; pictures and other art objects;         X
antiques; stamp, coin, record, tape, compact
disc, and other collections or collectibles.

6. Wearing apparel.                               X

7. Furs and jewelry.                              X

8. Firearms and sports, photographic, and         X
other hobby equipment.

9. Interests in insurance policies. Name              See attached rider                                                                   Undetermined
insurance company of each policy and
itemize surrender or refund value of each.

10. Annuities. Itemize and name each              X
issuer.

11. Interests in an education IRA as defined      X
in 26 U.S.C. § 530(b)(1) or under a
qualified State tuition plan as defined in 26
U.S.C. § 529(b)(1). Give particulars. (File
separately the record(s) of any such
interest(s). 11 U.S.C. § 521(c).)
                                Case 14-10979-CSS                Doc 1285           Filed 06/30/14              Page 13 of 84
B6B (Official Form 6B) (12/07) – Cont.


In re Oak Grove Mining Company LLC                               ,                                        Case No. 14-11024 (CSS)
                      Debtor                                                                                              (If known)


                                           SCHEDULE B – PERSONAL PROPERTY
                                                                 (Continuation Sheet)




                                                                                                                    HUSBAND, WIFE, JOINT,
                                                                                                                                              CURRENT VALUE OF




                                                                                                                      OR COMMUNITY
                                                   N                                                                                          DEBTOR’S INTEREST
                                                   O                                                                                          IN PROPERTY, WITH-
          TYPE OF PROPERTY                                           DESCRIPTION AND LOCATION
                                                   N                                                                                          OUT DEDUCTING ANY
                                                                           OF PROPERTY
                                                   E                                                                                            SECURED CLAIM
                                                                                                                                                 OR EXEMPTION

12. Interests in IRA, ERISA, Keogh, or             X
other pension or profit sharing plans. Give
particulars.

13. Stock and interests in incorporated and        X
unincorporated businesses. Itemize.

14. Interests in partnerships or joint             X
ventures. Itemize.

15. Government and corporate bonds and             X
other negotiable and nonnegotiable
instruments.

16. Accounts receivable.                           X

17. Alimony, maintenance, support, and             X
property settlements to which the debtor is
or may be entitled. Give particulars.

18. Other liquidated debts owed to debtor          X
including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
and rights or powers exercisable for the
benefit of the debtor other than those listed
in Schedule A - Real Property.

20. Contingent and noncontingent interests         X
in estate of a decedent, death benefit plan,
life insurance policy, or trust.

21. Other contingent and unliquidated              X
claims of every nature, including tax
refunds, counterclaims of the debtor, and
rights to setoff claims. Give estimated value
of each.

22. Patents, copyrights, and other                 X
intellectual property. Give particulars.

23. Licenses, franchises, and other general            Environmental Regulatory Permit - Wastewater Discharge                               $0.00 + Undetermined amounts
intangibles. Give particulars.                         Permit - Oak Grove Mine Area - Permit Number 2699
                                Case 14-10979-CSS             Doc 1285             Filed 06/30/14            Page 14 of 84
B6B (Official Form 6B) (12/07) – Cont.


In re Oak Grove Mining Company LLC                              ,                                        Case No. 14-11024 (CSS)
                       Debtor                                                                                            (If known)


                                          SCHEDULE B – PERSONAL PROPERTY
                                                              (Continuation Sheet)




                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                            CURRENT VALUE OF




                                                                                                                    OR COMMUNITY
                                               N                                                                                            DEBTOR’S INTEREST
                                               O                                                                                            IN PROPERTY, WITH-
          TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION
                                               N                                                                                            OUT DEDUCTING ANY
                                                                      OF PROPERTY
                                               E                                                                                              SECURED CLAIM
                                                                                                                                               OR EXEMPTION

24. Customer lists or other compilations       X
containing personally identifiable
information (as defined in 11 U.S.C. §
101(41A)) provided to the debtor by
individuals in connection with obtaining a
product or service from the debtor primarily
for personal, family, or household purposes.

25. Automobiles, trucks, trailers, and other   X
vehicles and accessories.

26. Boats, motors, and accessories.            X

27. Aircraft and accessories.                  X

28. Office equipment, furnishings, and         X
supplies.

29. Machinery, fixtures, equipment, and        X
supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested. Give         X
particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not        Deferred tax assets                                                                    $0.00 + Undetermined amounts
already listed. Itemize.




                                                                                                                                          $ 0.00
                                                                    2    continuation sheets attached   Total ►
                                                                         (Include amounts from any continuation
                                                                         sheets attached. Report total also on
                                                                                    Summary of Schedules.)
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In re: Oak Grove Mining Company LLC                                                                Case No. 14-11024 (CSS)


                                        SCHEDULE B PERSONAL PROPERTY
                                       Rider B.9 - Interests In Insurance Policies

           Insurance Company                          Type of Policy                Policy Number          Surrender or
                                                                                                           Refund Value
 STARR INDEMNITY AND LIABILITY            Auto Liability                        SISIPCA08293814                Undetermined
 COMPANY
 FEDERAL                                  Crime                                 6804-3186                      Undetermined
 ACE                                      D&O                                   DOX G23642554 004              Undetermined
 AIG                                      D&O                                   01-310-18-13                   Undetermined
 ASSOCIATED ELECTRIC AND GAS              D&O                                   DP5027912P                     Undetermined
 INSURANCE
 AXIS                                     D&O                                   MHN763305/01/2012              Undetermined
 BEAZLEY                                  D&O                                   BSLX505120706                  Undetermined
 BEAZLEY                                  D&O                                   W15147140101                   Undetermined
 ENDURANCE                                D&O                                   ADX10003789200                 Undetermined
 ENERGY INSURANCE MUTUAL (EIM)            D&O                                   292730-14DO                    Undetermined
 HCC                                      D&O                                   14-MGU-12-A27765               Undetermined
 MONITOR                                  D&O                                   11140872                       Undetermined
 NAVIGATORS                               D&O                                   SPRDR1200355/SPRDR120          Undetermined
                                                                                0464
 RLI                                      D&O                                   EPG0010701                     Undetermined
 RSUI (CRC)                               D&O                                   NHS648633                      Undetermined
 RSUI (CRC)                               D&O                                   NHS648674                      Undetermined
 STARR                                    D&O                                   SISIXFL21039512                Undetermined
 STARR                                    D&O                                   SISIXFL21098412                Undetermined
 TORUS                                    D&O                                   07081C141ASP                   Undetermined
 XL SPECIALTY INSURANCE COMPANY           D&O                                   ELU127420-12                   Undetermined
 FEDERAL                                  Employed Lawyers                      8225-6974                      Undetermined
 ARGO RE (BERMUDA)                        Excess Liability                      ARGO-CAS-CM-000397.3           Undetermined
 ASSOCIATED ELECTRIC AND GAS              Excess Liability                      XL5147502P                     Undetermined
 INSURANCE
 CHUBB ATLANTIC INDEMNITY LTD.            Excess Liability                      3310-18-72                     Undetermined
 (BERMUDA)
 ENERGY INSURANCE MUTUAL (EIM)            Excess Liability                      252526-13GL                    Undetermined
 OIL CASUALTY INSURANCE, LTD. (OCIL)      Excess Liability                      U920340-08163                  Undetermined
 XL INSURANCE (BERMUDA) LTD.              Excess Liability                      BM0027152L and                 Undetermined
                                                                                BM0027153L
 ASSOCIATED ELECTRIC AND GAS              Fiduciary                             FP5030512P                     Undetermined
 INSURANCE
 AXIS                                     Fiduciary                             MHN769835/01/2012              Undetermined
 ENERGY INSURANCE MUTUAL (EIM)            Fiduciary                             27274-14FL                     Undetermined
 XL SPECIALTY INSURANCE COMPANY           Fiduciary                             ELU127421-12                   Undetermined
 STARR SURPLUS LINES INS CO.              General Liability                     SISINRG00104913                Undetermined
 STARR AVIATION ON BEHALF                 Non-Owned Aviation                    9958-3119-04                   Undetermined




                                                              Page 1 of 2
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In re: Oak Grove Mining Company LLC                                                              Case No. 14-11024 (CSS)


                                       SCHEDULE B PERSONAL PROPERTY
                                      Rider B.9 - Interests In Insurance Policies
         Insurance Company                       Type of Policy                Policy Number               Surrender or
                                                                                                           Refund Value
 NUCLEAR ENERGY LIABILITY INSURANCE     Nuclear Liability                     NF-274, N-90, N-119, NW-        Undetermined
 ASS                                                                          631, NS-440
 EUROPEAN MUTUAL ASSOCIATION FOR        Nuclear Property                      A14/57/2012/0                   Undetermined
 NUCLEAR
 NUCLEAR INSURANCE INSURANCE            Nuclear Property                      P14-061, X14-062, E14-          Undetermined
 LIMITED                                                                      062,NSIC14-061
 ASSOCIATED ELECTRIC AND GAS            Professional Liability                EO5146602P                      Undetermined
 INSURANCE
 FM GLOBAL                              Property / Replacement Power          JV394 (PRE)/JW001 (POST)        Undetermined
 HCC                                    Special Crime                                                         Undetermined
 LIBERTY MUTUAL/SAFECO                  Surety                                TB1-691-004224-042              Undetermined
 STARR INDEMNITY AND LIABILITY          Workers Compensation                  100 0001083-01                  Undetermined
 COMPANY


                                                                                                   TOTAL      Undetermined




                                                            Page 2 of 2
B6D (Official Form 6D) (12/07) Case 14-10979-CSS                                            Doc 1285              Filed 06/30/14                                Page 17 of 84
In re     Oak Grove Mining Company LLC                                              ,                                Case No. 14-11024 (CSS)
                                     Debtor                                                                                                                          (if known)


                                          SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
     property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has wi th the creditor is useful
     to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
     judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child’s initials and the name and
     address of the child’s parent or guardian, such as “A.B., a minor child by John Doe, guardian.” Do not disclose the child’s n ame. See 11 U.S.C. §
     112. and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codeb tor,” include the
     entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
     both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” i n the column labeled “Husband, Wife,
     Joint, or Community.”
                If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in th e column
     labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
     these three columns.)
                Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxe s
     labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
     of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
     labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

                             Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                   HUSBAND, WIFE,




                                                                                                                                  UNLIQUIDATED
          CREDITOR'S NAME AND                                                           DATE CLAIM WAS                                                       AMOUNT OF CLAIM                 UNSECURED
                                                                                                                     CONTINGENT
                                                                    COMMUNITY
                                                        CODEBTOR




             MAILING ADDRESS                                                               INCURRED,                                                             WITHOUT                     PORTION, IF




                                                                                                                                                 DISPUTED
                                                                     JOINT, OR




         INCLUDING ZIP CODE AND                                                         NATURE OF LIEN,                                                     DEDUCTING VALUE OF                  ANY
           AN ACCOUNT NUMBER                                                                  AND                                                              COLLATERAL
            (See instructions above.)                                                     DESCRIPTION
                                                                                         AND VALUE OF
                                                                                           PROPERTY
                                                                                        SUBJECT TO LIEN
        ACCOUNT NO.                                                                     11.5% Fixed Senior                                                  $1,815,965,278.00            Undetermined
        BOKF, NA DBA BANK OF                                                            Secured Notes due
        ARIZONA                                                                         October 1, 2020
        KEN HOFFMAN                                    X                                                            X             X
        VICE PRESIDENT
        3001 EAST CAMELBACK ROAD,
                                                                                        VALUE $ Undetermined
        SUITE 100
        PHOENIX, AZ 85016
        ACCOUNT NO.                                                                     Potential makewhole or                                              Undetermined                 Undetermined
        BOKF, NA DBA BANK OF                                                            similar claim under 11.5%
        ARIZONA                                                                         Fixed Senior Secured
        KEN HOFFMAN                                                                     Notes due October 1, 2020
        VICE PRESIDENT
        3001 EAST CAMELBACK ROAD,
        SUITE 100                                      X                                                            X             X              X
        PHOENIX, AZ 85016
                                                                                        VALUE $ Undetermined




        2 continuation sheets attached                                                  Subtotal ►                                                          $ 1,815,965,278.00           $0.00
                                                                                        (Total of this page)
                                                                                        Total ►                                                             $                            $
                                                                                        (Use only on last page)

                                                                                                                                                            (Report also on Summary of   (If applicable, report
                                                                                                                                                            Schedules.)                  also on Statistical
                                                                                                                                                                                         Summary of Certain
                                                                                                                                                                                         Liabilities and
                                                                                                                                                                                         Related Data.)
The amounts listed with respect to the Debtor’s first lien and second lien notes do not reflect any "makewhole" amounts. The Debtor disputes all makewhole Claims and reserves all rights related to such
claims.
B6D (Official Form 6D) (12/07) –Case
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In re Oak Grove Mining Company LLC                                             ,                                 Case No. 14-11024 (CSS)
                                     Debtor                                                                                                                      (if known)


                                          SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                           (Continuation Sheet)




                                                                  HUSBAND, WIFE,




                                                                                                                              UNLIQUIDATED
        CREDITOR'S NAME AND                                                        DATE CLAIM WAS                                                        AMOUNT OF CLAIM                 UNSECURED




                                                                                                                 CONTINGENT
                                                                   COMMUNITY
                                                       CODEBTOR
           MAILING ADDRESS                                                            INCURRED,                                                         WITHOUT DEDUCTING                PORTION, IF




                                                                                                                                             DISPUTED
                                                                    JOINT, OR
       INCLUDING ZIP CODE AND                                                      NATURE OF LIEN,                                                          VALUE OF                        ANY
         AN ACCOUNT NUMBER                                                               AND                                                               COLLATERAL
          (See instructions above.)                                                  DESCRIPTION
                                                                                    AND VALUE OF
                                                                                      PROPERTY
                                                                                   SUBJECT TO LIEN
      ACCOUNT NO.                                                                  Potential makewhole or                                               Undetermined                 Undetermined
      WILMINGTON SAVINGS FUND                                                      similar claim under 15%
      SOCIETY, FSB                                                                 Fixed Senior Secured
      (CHRISTIANA TRUST)                               X                           Second Lien Notes due         X            X              X
      PATRICK HEALY - VP, DIRECTOR                                                 April 1, 2021 (Series A
      SERVICES, 500 DELAWARE AVE.                                                  and B)
      WILMINGTON, DE 19801                                                         VALUE $ Undetermined
      ACCOUNT NO.                                                                  15% Fixed Senior Secured                                             $1,647,910,346.00            Undetermined
      WILMINGTON SAVINGS FUND                                                      Second Lien Notes due
      SOCIETY, FSB                                                                 April 1, 2021 (Series A
      (CHRISTIANA TRUST)                               X                           and B)                        X            X
      PATRICK HEALY - VP, DIRECTOR
      SERVICES, 500 DELAWARE AVE.
                                                                                   VALUE $ Undetermined
      WILMINGTON, DE 19801
      ACCOUNT NO.                                                                  4.7356% Letter of Credit                                             $1,031,807,429.33            Undetermined
      WILMINGTON TRUST, N.A.                                                       (L/C) Facility, due
      AS SUCCESSOR TRUSTEE                                                         October 2017
      ATTN: JEFFREY T. ROSE                            X                                                         X            X
      50 SOUTH SIXTH STREET, SUITE
      1290
                                                                                   VALUE $ Undetermined
      MINNEAPOLIS, MN 55402
      ACCOUNT NO.                                                                  3.7356% Letter of Credit                                             $42,888,087.33               Undetermined
      WILMINGTON TRUST, N.A.                                                       (L/C) Facility, due
      AS SUCCESSOR TRUSTEE                                                         October 2014
      ATTN: JEFFREY T. ROSE                            X                                                         X            X
      50 SOUTH SIXTH STREET, SUITE
      1290
                                                                                   VALUE $ Undetermined
      MINNEAPOLIS, MN 55402
      ACCOUNT NO.                                                                  TCEH Revolving Credit                                                $2,077,176,706.40            Undetermined
      WILMINGTON TRUST, N.A.                                                       Facility
      AS SUCCESSOR TRUSTEE
      ATTN: JEFFREY T. ROSE                            X                                                         X            X
      50 SOUTH SIXTH STREET, SUITE
      1290
                                                                                   VALUE $ Undetermined
      MINNEAPOLIS, MN 55402


      Sheet no. 1 of 2 continuation                                                            Subtotal (s)►                                            $ 4,799,782,569.06           $0.00
      sheets attached to Schedule of Creditors                                         (Total(s) of this page)
      Holding Secured Claims



                                                                                                  Total(s) ►                                            $                            $
                                                                                      (Use only on last page)
                                                                                                                                                        (Report also on Summary of   (If applicable, report
                                                                                                                                                        Schedules.)                  also on Statistical
                                                                                                                                                                                     Summary of Certain
                                                                                                                                                                                     Liabilities and
                                                                                                                                                                                     Related Data.)


The amounts listed with respect to the Debtor’s first lien and second lien notes do not reflect any "makewhole" amounts. The Debtor disputes all makewhole Claims and reserves all rights related to such
claims.
B6D (Official Form 6D) (12/07) –Case
                                Cont. 14-10979-CSS                                    Doc 1285             Filed 06/30/14                                 Page 19 of 84

In re Oak Grove Mining Company LLC                                             ,                                 Case No. 14-11024 (CSS)
                                     Debtor                                                                                                                      (if known)


                                          SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                           (Continuation Sheet)




                                                                  HUSBAND, WIFE,




                                                                                                                              UNLIQUIDATED
        CREDITOR'S NAME AND                                                        DATE CLAIM WAS                                                        AMOUNT OF CLAIM               UNSECURED




                                                                                                                 CONTINGENT
                                                                   COMMUNITY
                                                       CODEBTOR
           MAILING ADDRESS                                                            INCURRED,                                                         WITHOUT DEDUCTING              PORTION, IF




                                                                                                                                             DISPUTED
                                                                    JOINT, OR
       INCLUDING ZIP CODE AND                                                      NATURE OF LIEN,                                                          VALUE OF                      ANY
         AN ACCOUNT NUMBER                                                               AND                                                               COLLATERAL
          (See instructions above.)                                                  DESCRIPTION
                                                                                    AND VALUE OF
                                                                                      PROPERTY
                                                                                   SUBJECT TO LIEN
      ACCOUNT NO.                                                                  3.737% TCEH Term Loan                                                $3,839,637,300.10            Undetermined
      WILMINGTON TRUST, N.A.                                                       Facilities with maturity
      AS SUCCESSOR TRUSTEE                                                         date of October 10, 2014
      ATTN: JEFFREY T. ROSE                            X                                                         X            X
      50 SOUTH SIXTH STREET, SUITE
      1290
                                                                                   VALUE $ Undetermined
      MINNEAPOLIS, MN 55402
      ACCOUNT NO.                                                                  4.737% TCEH Term Loan                                                $343,489,479.50              Undetermined
      WILMINGTON TRUST, N.A.                                                       Facilities with maturity
      AS SUCCESSOR TRUSTEE                                                         date of October 10, 2017
      ATTN: JEFFREY T. ROSE                            X                           (incremental)                 X            X
      50 SOUTH SIXTH STREET, SUITE
      1290
                                                                                   VALUE $ Undetermined
      MINNEAPOLIS, MN 55402
      ACCOUNT NO.                                                                  4.737% TCEH Term Loan                                                $15,528,272,154.03           Undetermined
      WILMINGTON TRUST, N.A.                                                       Facilities with maturity
      AS SUCCESSOR TRUSTEE                                                         date of October 10, 2017
      ATTN: JEFFREY T. ROSE                            X                                                         X            X
      50 SOUTH SIXTH STREET, SUITE
      1290
                                                                                   VALUE $ Undetermined
      MINNEAPOLIS, MN 55402
      ACCOUNT NO.




                                                                                   VALUE $
      ACCOUNT NO.




                                                                                   VALUE $

      Sheet no. 2 of 2 continuation                                                            Subtotal (s)►                                            $ 19,711,398,933.63          $0.00
      sheets attached to Schedule of Creditors                                         (Total(s) of this page)
      Holding Secured Claims



                                                                                                  Total(s) ►                                            $ 26,327,146,780.69          $0.00
                                                                                      (Use only on last page)
                                                                                                                                                        (Report also on Summary of   (If applicable, report
                                                                                                                                                        Schedules.)                  also on Statistical
                                                                                                                                                                                     Summary of Certain
                                                                                                                                                                                     Liabilities and
                                                                                                                                                                                     Related Data.)


The amounts listed with respect to the Debtor’s first lien and second lien notes do not reflect any "makewhole" amounts. The Debtor disputes all makewhole Claims and reserves all rights related to such
claims.
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In re   Oak Grove Mining Company LLC                        ,                                 Case No. 14-11024 (CSS)
                                Debtor                                                                                  (if known)


            SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provi ded. Only holders of
   unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
   including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
   debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
   debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent or guardian, such as
   “A.B., a minor child by John Doe, guardian.” Do not disclose the child’s name. See 11 U.S.C. § 112. and Fed. R. Bankr. P. 1007(m).

        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
   entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both
   of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
   Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
   labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
   these three columns.)

        Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
   E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

         Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
   entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
   primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
   amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
   with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

   TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

         Domestic Support Obligations

     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
   responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
   11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case

     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
   appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions

     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
   independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
   cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans

     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
   cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                              Case 14-10979-CSS                  Doc 1285           Filed 06/30/14           Page 21 of 84
B6E (Official Form 6E) (04/13) – Cont.

In re Oak Grove Mining Company LLC                         ,                               Case No. 14-11024 (CSS)
                               Debtor                                                                                (if known)

         Certain farmers and fishermen

     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals

     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
   that were not delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and Certain Other Debts Owed to Governmental Units

     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to Maintain the Capital of an Insured Depository Institution

     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
   Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
   § 507 (a)(9).

         Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
   drug, or another substance. 11 U.S.C. § 507(a)(10).




   * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
   adjustment.




                                                                1 continuation sheets attached
                                 Case 14-10979-CSS                                  Doc 1285            Filed 06/30/14                                   Page 22 of 84
B6E (Official Form 6E) (04/10) – Cont.

In re Oak Grove Mining Company LLC                                           ,                                                Case No. 14-11024 (CSS)
                                   Debtor                                                                                                                      (if known)


       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                                                Type of Priority for Claims Listed on This Sheet



          CREDITOR’S NAME,                                                   DATE CLAIM WAS                                                         AMOUNT             AMOUNT              AMOUNT




                                                                                                                      UNLIQUIDATED
           MAILING ADDRESS                                                    INCURRED AND                                                            OF               ENTITLED              NOT



                                                            HUSBAND, WIFE,




                                                                                                         CONTINGENT
                                                             COMMUNITY
                                                 CODEBTER
         INCLUDING ZIP CODE,                                                 CONSIDERATION                                                           CLAIM                TO              ENTITLED




                                                                                                                                     DISPUTED
                                                              JOINT, OR
        AND ACCOUNT NUMBER                                                      FOR CLAIM                                                                              PRIORITY               TO
          (See instructions above.)                                                                                                                                                      PRIORITY, IF
                                                                                                                                                                                             ANY




                                                                             Potential Tax Claim                                                Undetermined        Undetermined       Undetermined
    Account No.
    STATE OF TEXAS,
    COMPTROLLER’S OFFICE
    TEXAS COMPTROLLER OF
                                                                                                         X            X
    PUBLIC ACCOUNTS
    PO BOX 13528, CAPITAL STATION
    AUSTIN, TX 78711-3528
    Account No.




    Account No.




    Account No.




    Sheet no. 1 of 1 continuation sheets attached to Schedule                                                                                   $ 0.00              $ 0.00             $ 0.00
    of                                                                                                     Subtotals ►
    Creditors Holding Priority Claims                                                              (Totals of this page)

                                                                                                                Total ►
                                                                             (Use only on last page of the completed                            $ 0.00
                                                                             Schedule E. Report also on the Summary
                                                                             of Schedules.)
                                                                                                               Totals ►                                             $ 0.00             $ 0.00
                                                                             (Use only on last page of the completed
                                                                             Schedule E. If applicable, report also on
                                                                             the Statistical Summary of Certain
                                                                             Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) Case 14-10979-CSS                                Doc 1285            Filed 06/30/14                    Page 23 of 84
In re   Oak Grove Mining Company LLC                                     ,                              Case No. 14-11024 (CSS)
                                    Debtor                                                                                                    (if known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and
address of the child’s parent or guardian, such as “A.B., a minor child by John Doe, guardian.” Do not disclose the child’s name. See 11 U.S.C. § 112. and Fed. R.
Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated."
If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

   Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical
Summary of Certain Liabilities and Related Data..

          Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                        HUSBAND, WIFE,




                                                                                                                               UNLIQUIDATED
       CREDITOR'S NAME,                                                          DATE CLAIM WAS                                                          AMOUNT OF




                                                                                                                  CONTINGENT
                                                         COMMUNITY
                                             CODEBTOR




                                                                                                                                              DISPUTED
                                                          JOINT, OR




       MAILING ADDRESS                                                            INCURRED AND                                                             CLAIM
     INCLUDING ZIP CODE,                                                       CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                               CLAIM.
      (See instructions above.)                                              IF CLAIM IS SUBJECT TO
                                                                                SETOFF, SO STATE.

  ACCOUNT NO.                                                                Guarantee of 10.25% Fixed Senior                                            $3,664,682,368.57
                                                                             Notes due November 1, 2015 (Series
  LAW DEBENTURE TRUST                                                        A and B)
  COMPANY OF NEW YORK
                                             X                                                                    X            X
  FRANK GODINO
  VICE PRESIDENT
  400 MADISON AVENUE, SUITE 4D
  NEW YORK, NY 10017
  ACCOUNT NO.                                                                Guarantee of 10.50% / 11.25%                                                $1,840,481,442.09
                                                                             Senior Toggle Notes due November
  LAW DEBENTURE TRUST                                                        1, 2016
  COMPANY OF NEW YORK
                                             X                                                                    X            X
  FRANK GODINO
  VICE PRESIDENT
  400 MADISON AVENUE, SUITE 4D
  NEW YORK, NY 10017
  ACCOUNT NO.                                                                Intercompany Payable                                                        $2,795,161.38

  ENERGY FUTURE COMPETITIVE
  HOLDINGS COMPANY LLC
  ATTN: MR. JEFF WALKER
  1601 BRYAN ST.
  DALLAS, TX 75201-3411


                                                                                                                                   Subtotal ►            $ 5,507,958,972.04
   1 continuation sheets attached                                                                                          Total ►                       $
                                                                              (Use only on last page of the completed Schedule F.)
                                                          (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                Summary of Certain Liabilities and Related Data.)
                                Case 14-10979-CSS                            Doc 1285             Filed 06/30/14                     Page 24 of 84
B6F (Official Form 6F) (12/07) – Cont.


In re Oak Grove Mining Company LLC                                    ,                                 Case No. 14-11024 (CSS)
                                Debtor                                                                                                       (if known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                  (Continuation Sheet)




                                                         HUSBAND, WIFE,




                                                                                                                              UNLIQUIDATED
       CREDITOR'S NAME,                                                       DATE CLAIM WAS                                                             AMOUNT OF




                                                                                                                 CONTINGENT
                                                          COMMUNITY
                                              CODEBTOR




                                                                                                                                             DISPUTED
                                                           JOINT, OR
       MAILING ADDRESS                                                         INCURRED AND                                                                CLAIM
     INCLUDING ZIP CODE,                                                    CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                            CLAIM.
      (See instructions above.)                                           IF CLAIM IS SUBJECT TO
                                                                             SETOFF, SO STATE.

  ACCOUNT NO.                                                             Potential Pension Liability                                                   Undetermined

  PENSION BENEFIT GUARANTY
  CORPORATION                                                                                                   X             X              X
  ISRAEL GOLDOWITZ
  1200 K STREET, NW
  WASHINGTON, DC 20005-4026
  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




  Sheet no. 1 of 1 continuation sheets                                                                                            Subtotal ►            $ 0.00
  attached to Schedule of Creditors Holding
  Unsecured Nonpriority Claims

                                                                                                                            Total ►                     $ 5,507,958,972.04
                                                                               (Use only on last page of the completed Schedule F.)
                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                 Summary of Certain Liabilities and Related Data.)
                           Case 14-10979-CSS                    Doc 1285           Filed 06/30/14            Page 25 of 84

B6G (Official Form 6G) (12/07)

In re   Oak Grove Mining Company LLC                            ,                                          Case No. 14-11024 (CSS)
                       Debtor                                                                                             (if known)

                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                  Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
              State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide
              the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the
              leases or contracts, state the child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a minor child by John
              Doe, guardian.” Do not disclose the child’s name. See 11 U.S.C. § 112. and Fed. R. Bankr. P. 1007(m).

               Check this box if debtor has no executory contracts or unexpired leases.

                 NAME AND MAILING ADDRESS,                                        DESCRIPTION OF CONTRACT OR LEASE AND
                     INCLUDING ZIP CODE,                                           NATURE OF DEBTOR'S INTEREST. STATE
           OF OTHER PARTIES TO LEASE OR CONTRACT.                                 WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                                     REAL PROPERTY. STATE CONTRACT
                                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.



         A.L. TURNER
                                                                            PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         AAA COOPER TRANSPORTATION
                                                                            TRANSPORTATION AGREEMENT DATED
         PO BOX 6827
                                                                            10/29/2010
         DOTHAN, AL 36302


         ADVANCED ANALYTICAL LABORATORIES,
         LLC                                                                SERVICES AGREEMENT DATED 04/01/2004 PLUS
         3507 WESTWAY STREET                                                AMENDMENTS
         TYLER, TX 75703


         ALBIN ZAN
                                                                            PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE


         APPROACH OPERATING LLC
         6500 WEST FREEWAY
                                                                            ACCOMODATION AGREEMENT DATED 8/1/2007
         SUITE 800
         FT. WORTH, TX 76146

         ATS LOGISTICS SERVICES, INC .
         725 OPPORTUNITY DR.                                                SERVICES AGREEMENT DATED 10/25/2010 PLUS
         PO BOX 1377                                                        AMENDMENTS
         ST. CLOUD, MN 53601




                                                                        Page 1 of 10
                           Case 14-10979-CSS   Doc 1285         Filed 06/30/14    Page 26 of 84

B6G (Official Form 6G) (12/07) – Cont.

In re Oak Grove Mining Company LLC             ,                                 Case No. 14-11024 (CSS)
                       Debtor                                                                  (if known)
                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                   (Continuation Sheet)

                  NAME AND MAILING ADDRESS,                    DESCRIPTION OF CONTRACT OR LEASE AND
                      INCLUDING ZIP CODE,                       NATURE OF DEBTOR'S INTEREST. STATE
            OF OTHER PARTIES TO LEASE OR CONTRACT.             WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                  REAL PROPERTY. STATE CONTRACT
                                                               NUMBER OF ANY GOVERNMENT CONTRACT.


         B.L. ROBERTS
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE


         BOKF, NA DBA BANK OF ARIZONA
         KEN HOFFMAN
                                                           INDENTURE FOR 11.5% FIXED SENIOR SECURED
         VICE PRESIDENT
                                                           NOTES DUE OCTOBER 1, 2020
         3001 EAST CAMELBACK ROAD, SUITE 100
         PHOENIX, AZ 85016


         CHARLES MOREHEAD
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         CONSOLIDATED MINE SERVICE, INC.
         PO BOX 8248                                       SERVICES AGREEMENT DATED 02/04/2010
         LONGVIEW, TX 75607


         DALE CARPENTER
         3680 FM 1246 E                                    PASTURE RENT LEASE AGREEMENT
         THORNTON, TX 76687



         DANIEL MITCHELL
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         DANIEL REKIETA
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE




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                           Case 14-10979-CSS   Doc 1285         Filed 06/30/14    Page 27 of 84

B6G (Official Form 6G) (12/07) – Cont.

In re Oak Grove Mining Company LLC             ,                                 Case No. 14-11024 (CSS)
                       Debtor                                                                  (if known)
                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                   (Continuation Sheet)

                  NAME AND MAILING ADDRESS,                    DESCRIPTION OF CONTRACT OR LEASE AND
                      INCLUDING ZIP CODE,                       NATURE OF DEBTOR'S INTEREST. STATE
            OF OTHER PARTIES TO LEASE OR CONTRACT.             WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                  REAL PROPERTY. STATE CONTRACT
                                                               NUMBER OF ANY GOVERNMENT CONTRACT.


         DAVE SCOTT
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         DAVE SCOTT
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         DAVE SCOTT
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         DAVE SCOTT
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         DAVE SCOTT
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         DONALD BART LOWRY
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         DONALD BART LOWRY
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE




                                                       Page 3 of 10
                           Case 14-10979-CSS   Doc 1285         Filed 06/30/14    Page 28 of 84

B6G (Official Form 6G) (12/07) – Cont.

In re Oak Grove Mining Company LLC             ,                                 Case No. 14-11024 (CSS)
                       Debtor                                                                  (if known)
                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                   (Continuation Sheet)

                  NAME AND MAILING ADDRESS,                    DESCRIPTION OF CONTRACT OR LEASE AND
                      INCLUDING ZIP CODE,                       NATURE OF DEBTOR'S INTEREST. STATE
            OF OTHER PARTIES TO LEASE OR CONTRACT.             WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                  REAL PROPERTY. STATE CONTRACT
                                                               NUMBER OF ANY GOVERNMENT CONTRACT.


         DOUGLAS KYLE
                                                           RESIDENTIAL RENT LEASE AGREEMENT
         ADDRESS ON FILE


         ENDURING RESOURCES LLC
         511 16TH ST.
                                                           ACCOMODATION AGREEMENT DATED 3/6/2009
         SUITE 700
         DENVER, CO 80203

         ENDURING RESOURCES LLC
         511 16TH ST.
                                                           ACCOMODATION AGREEMENT DATED 6/18/2007
         SUITE 700
         DENVER, CO 80203


         FRANCES TROJACEK
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         FRED REAGAN
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         GLENN HERZOG
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE


         GLM DFW, INC.
         17300 PRESTON ROAD
                                                           SERVICES AGREEMENT DATED 11/01/2009
         SUITE 300
         DALLAS, TX 75252




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                           Case 14-10979-CSS   Doc 1285         Filed 06/30/14    Page 29 of 84

B6G (Official Form 6G) (12/07) – Cont.

In re Oak Grove Mining Company LLC             ,                                 Case No. 14-11024 (CSS)
                       Debtor                                                                  (if known)
                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                   (Continuation Sheet)

                  NAME AND MAILING ADDRESS,                    DESCRIPTION OF CONTRACT OR LEASE AND
                      INCLUDING ZIP CODE,                       NATURE OF DEBTOR'S INTEREST. STATE
            OF OTHER PARTIES TO LEASE OR CONTRACT.             WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                  REAL PROPERTY. STATE CONTRACT
                                                               NUMBER OF ANY GOVERNMENT CONTRACT.


         HOLT TEXAS, LTD D/B/A HOLT CAT
                                                           SERVICES AGREEMENT DATED 03/01/2011 PLUS
         3302 SOUTH W.W. WHITE ROAD
                                                           AMENDMENTS
         SAN ANTONIO, TX 78222



         IRENE WHITE
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         JAMES BATCHELOR
                                                           MOBILE HOME LOT LEASE AGREEMENT
         ADDRESS ON FILE



         JASON GOUGE
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         JASON PRUITT
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         JEFF KENNEDY
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         JEFF WILSON
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE




                                                       Page 5 of 10
                           Case 14-10979-CSS   Doc 1285         Filed 06/30/14    Page 30 of 84

B6G (Official Form 6G) (12/07) – Cont.

In re Oak Grove Mining Company LLC             ,                                 Case No. 14-11024 (CSS)
                       Debtor                                                                  (if known)
                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                   (Continuation Sheet)

                  NAME AND MAILING ADDRESS,                    DESCRIPTION OF CONTRACT OR LEASE AND
                      INCLUDING ZIP CODE,                       NATURE OF DEBTOR'S INTEREST. STATE
            OF OTHER PARTIES TO LEASE OR CONTRACT.             WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                  REAL PROPERTY. STATE CONTRACT
                                                               NUMBER OF ANY GOVERNMENT CONTRACT.


         JERRY KOCIAN
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         JERRY KOCIAN
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         JERRY KOCIAN
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         JEWEL AUSTIN
                                                           RESIDENTIAL RENT LEASE AGREEMENT
         ADDRESS ON FILE



         JOHN GREEN
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         KIE B CZAJKOWSKI
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         KIE B CZAJKOWSKI
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE




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                           Case 14-10979-CSS   Doc 1285         Filed 06/30/14    Page 31 of 84

B6G (Official Form 6G) (12/07) – Cont.

In re Oak Grove Mining Company LLC             ,                                 Case No. 14-11024 (CSS)
                       Debtor                                                                  (if known)
                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                   (Continuation Sheet)

                  NAME AND MAILING ADDRESS,                    DESCRIPTION OF CONTRACT OR LEASE AND
                      INCLUDING ZIP CODE,                       NATURE OF DEBTOR'S INTEREST. STATE
            OF OTHER PARTIES TO LEASE OR CONTRACT.             WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                  REAL PROPERTY. STATE CONTRACT
                                                               NUMBER OF ANY GOVERNMENT CONTRACT.

         LAW DEBENTURE TRUST COMPANY OF NEW
         YORK
         FRANK GODINO                                      INDENTURE FOR 10.50% / 11.25% SENIOR TOGGLE
         VICE PRESIDENT                                    NOTES DUE NOVEMBER 1, 2016
         400 MADISON AVENUE, SUITE 4D
         NEW YORK, NY 10017
         LAW DEBENTURE TRUST COMPANY OF NEW
         YORK
         FRANK GODINO                                      INDENTURE FOR 10.25% FIXED SENIOR NOTES
         VICE PRESIDENT                                    DUE NOVEMBER 1, 2015 (SERIES A AND B)
         400 MADISON AVENUE, SUITE 4D
         NEW YORK, NY 10017


         LEA GARRETT
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         LOUIE R REAGAN
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         MACK JONES
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         MHC X-PLORATION CORPORATION
                                                           SERVICES AGREEMENT DATED 01/01/2004 PLUS
         12918 HIGHWAY 64 WEST
                                                           AMENDMENTS
         TYLER, TX 75704


         O'BRIEN RESOURCES, LLC
         P.O. BOX 6149                                     ACCOMODATION AGREEMENT DATED 3/6/2009
         SHREVEPORT, LA 71136-6149




                                                       Page 7 of 10
                           Case 14-10979-CSS   Doc 1285         Filed 06/30/14    Page 32 of 84

B6G (Official Form 6G) (12/07) – Cont.

In re Oak Grove Mining Company LLC             ,                                 Case No. 14-11024 (CSS)
                       Debtor                                                                  (if known)
                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                   (Continuation Sheet)

                  NAME AND MAILING ADDRESS,                    DESCRIPTION OF CONTRACT OR LEASE AND
                      INCLUDING ZIP CODE,                       NATURE OF DEBTOR'S INTEREST. STATE
            OF OTHER PARTIES TO LEASE OR CONTRACT.             WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                  REAL PROPERTY. STATE CONTRACT
                                                               NUMBER OF ANY GOVERNMENT CONTRACT.


         O'BRIEN RESOURCES, LLC
         P.O. BOX 6149                                     ACCOMODATION AGREEMENT DATED 6/18/2007
         SHREVEPORT, LA 71136-6149


         R AND L CARRIERS, INC.
                                                           TRANSPORTATION AGREEMENT DATED
         600 GILLAM ROAD
                                                           11/08/2013
         WILMINGTON, OH 45177



         RALPH CLOSS
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         ROBERT CLOSS
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         RONALD HAM
                                                           MOBILE HOME LOT LEASE AGREEMENT
         ADDRESS ON FILE



         TED BASHINSKI
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE


         TEXAS ENERGY FUTURE HOLDINGS LP
         TEXAS ENERGY FUTURE CAPITAL HOLDINGS              RESTRUCTURING SUPPORT AND LOCK-UP
         LLC                                               AGREEMENT, DATED APRIL 29, 2014
         AND THE RESTRUCTURING SUPPORT PARTIES




                                                       Page 8 of 10
                           Case 14-10979-CSS   Doc 1285         Filed 06/30/14    Page 33 of 84

B6G (Official Form 6G) (12/07) – Cont.

In re Oak Grove Mining Company LLC             ,                                 Case No. 14-11024 (CSS)
                       Debtor                                                                  (if known)
                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                   (Continuation Sheet)

                  NAME AND MAILING ADDRESS,                    DESCRIPTION OF CONTRACT OR LEASE AND
                      INCLUDING ZIP CODE,                       NATURE OF DEBTOR'S INTEREST. STATE
            OF OTHER PARTIES TO LEASE OR CONTRACT.             WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                  REAL PROPERTY. STATE CONTRACT
                                                               NUMBER OF ANY GOVERNMENT CONTRACT.


         TEXAS PARKS & WILDLFE DEPT
         4200 SMITH SCHOOL ROAD                            OTHER LEASE AGREEMENT
         AUSTIN, TX 78744



         WADE FRAZIER
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE



         WALTER WILKERSON
                                                           PASTURE RENT LEASE AGREEMENT
         ADDRESS ON FILE


         WILMINGTON SAVINGS FUND SOCIETY, FSB
         (CHRISTIANA TRUST)                                INDENTURE FOR 15% FIXED SENIOR SECURED
         PATRICK HEALY - VP, DIRECTOR                      SECOND LIEN NOTES DUE APRIL 1, 2021 (SERIES A
         SERVICES, 500 DELAWARE AVE.                       AND B)
         WILMINGTON, DE 19801
         WILMINGTON TRUST, N.A.
         AS SUCCESSOR TRUSTEE                              4.737% TCEH TERM LOAN FACILITIES WITH
         ATTN: JEFFREY T. ROSE                             MATURITY DATE OF OCTOBER 10, 2017
         50 SOUTH SIXTH STREET, SUITE 1290                 (INCREMENTAL)
         MINNEAPOLIS, MN 55402
         WILMINGTON TRUST, N.A.
         AS SUCCESSOR TRUSTEE
                                                           4.737% TCEH TERM LOAN FACILITIES WITH
         ATTN: JEFFREY T. ROSE
                                                           MATURITY DATE OF OCTOBER 10, 2017
         50 SOUTH SIXTH STREET, SUITE 1290
         MINNEAPOLIS, MN 55402
         WILMINGTON TRUST, N.A.
         AS SUCCESSOR TRUSTEE
                                                           3.737% TCEH TERM LOAN FACILITIES WITH
         ATTN: JEFFREY T. ROSE
                                                           MATURITY DATE OF OCTOBER 10, 2014
         50 SOUTH SIXTH STREET, SUITE 1290
         MINNEAPOLIS, MN 55402




                                                       Page 9 of 10
                           Case 14-10979-CSS   Doc 1285         Filed 06/30/14    Page 34 of 84

B6G (Official Form 6G) (12/07) – Cont.

In re Oak Grove Mining Company LLC             ,                                 Case No. 14-11024 (CSS)
                       Debtor                                                                  (if known)
                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                   (Continuation Sheet)

                  NAME AND MAILING ADDRESS,                    DESCRIPTION OF CONTRACT OR LEASE AND
                      INCLUDING ZIP CODE,                       NATURE OF DEBTOR'S INTEREST. STATE
            OF OTHER PARTIES TO LEASE OR CONTRACT.             WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                  REAL PROPERTY. STATE CONTRACT
                                                               NUMBER OF ANY GOVERNMENT CONTRACT.

         WILMINGTON TRUST, N.A.
         AS SUCCESSOR TRUSTEE
         ATTN: JEFFREY T. ROSE                             TCEH REVOLVING CREDIT FACILITY
         50 SOUTH SIXTH STREET, SUITE 1290
         MINNEAPOLIS, MN 55402
         WILMINGTON TRUST, N.A.
         AS SUCCESSOR TRUSTEE
                                                           LETTER OF CREDIT (L/C) FACILITY, DUE
         ATTN: JEFFREY T. ROSE
                                                           OCTOBER 2014
         50 SOUTH SIXTH STREET, SUITE 1290
         MINNEAPOLIS, MN 55402
         WILMINGTON TRUST, N.A.
         AS SUCCESSOR TRUSTEE
                                                           LETTER OF CREDIT (L/C) FACILITY, DUE
         ATTN: JEFFREY T. ROSE
                                                           OCTOBER 2017
         50 SOUTH SIXTH STREET, SUITE 1290
         MINNEAPOLIS, MN 55402

         XTO ENERGY INC.
                                                           ACCOMMODATION AGREEMENT DATED
         810 HOUSTON STREET
                                                           11/26/2012
         FT. WORTH, TX 76102-6298




                                                      Page 10 of 10
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B6H (Official Form 6H) (12/07)



In re    Oak Grove Mining Company LLC                                                         ,        Case No. 14-11024 (CSS)
                                    Debtor                                                                           (if known)

                                                     SCHEDULE H - CODEBTORS
     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
the debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a minor child, by John Doe, guardian.” Do not disclose the
child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).

        Check this box if debtor has no codebtors.

                 NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR

 See attached rider
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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
4CHANGE ENERGY COMPANY                           WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY COMPANY                           WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY COMPANY                           WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY COMPANY                           WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY COMPANY                           WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY COMPANY                           WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY COMPANY                           BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
4CHANGE ENERGY COMPANY                           WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
4CHANGE ENERGY COMPANY                           LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
4CHANGE ENERGY COMPANY                           LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
4CHANGE ENERGY HOLDINGS LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY HOLDINGS LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY HOLDINGS LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY HOLDINGS LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY HOLDINGS LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
4CHANGE ENERGY HOLDINGS LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
4CHANGE ENERGY HOLDINGS LLC                      BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
4CHANGE ENERGY HOLDINGS LLC                      WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
4CHANGE ENERGY HOLDINGS LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
4CHANGE ENERGY HOLDINGS LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
BIG BROWN 3 POWER COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
BIG BROWN 3 POWER COMPANY LLC                    WILMINGTON TRUST, N.A.
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DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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                                                 MINNEAPOLIS, MN 55402
BIG BROWN 3 POWER COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
BIG BROWN 3 POWER COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
BIG BROWN 3 POWER COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
BIG BROWN 3 POWER COMPANY LLC                    WILMINGTON TRUST, N.A.
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                                                 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
BIG BROWN 3 POWER COMPANY LLC                    BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
BIG BROWN 3 POWER COMPANY LLC                    WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
BIG BROWN 3 POWER COMPANY LLC                    LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
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                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
BIG BROWN 3 POWER COMPANY LLC                    LAW DEBENTURE TRUST COMPANY OF NEW YORK
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                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
BIG BROWN LIGNITE COMPANY LLC                    WILMINGTON TRUST, N.A.
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BIG BROWN LIGNITE COMPANY LLC                    WILMINGTON TRUST, N.A.
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                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
BIG BROWN LIGNITE COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
BIG BROWN LIGNITE COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
BIG BROWN LIGNITE COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
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                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
BIG BROWN LIGNITE COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
BIG BROWN LIGNITE COMPANY LLC                    BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
BIG BROWN LIGNITE COMPANY LLC                    WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
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                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
BIG BROWN LIGNITE COMPANY LLC                    LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
BIG BROWN LIGNITE COMPANY LLC                    LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017




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            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 41 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
BIG BROWN POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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BIG BROWN POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
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BIG BROWN POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
BIG BROWN POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
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BIG BROWN POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
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                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801




                                         Page 6 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 42 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
BIG BROWN POWER COMPANY LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
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DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
BIG BROWN POWER COMPANY LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
COLLIN POWER COMPANY LLC                         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
COLLIN POWER COMPANY LLC                         WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
COLLIN POWER COMPANY LLC                         WILMINGTON TRUST, N.A.
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                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
COLLIN POWER COMPANY LLC                         WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
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                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
COLLIN POWER COMPANY LLC                         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                 Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
COLLIN POWER COMPANY LLC                         BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
COLLIN POWER COMPANY LLC                         WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
COLLIN POWER COMPANY LLC                         LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
COLLIN POWER COMPANY LLC                         LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
DECORDOVA II POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
DECORDOVA II POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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DECORDOVA II POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
DECORDOVA II POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 44 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                 Schedule H - Co-Debtor Rider

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DECORDOVA II POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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DECORDOVA II POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
DECORDOVA II POWER COMPANY LLC                   BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
DECORDOVA II POWER COMPANY LLC                   WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
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                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
DECORDOVA II POWER COMPANY LLC                   LAW DEBENTURE TRUST COMPANY OF NEW YORK
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                                                 NEW YORK, NY 10017
DECORDOVA II POWER COMPANY LLC                   LAW DEBENTURE TRUST COMPANY OF NEW YORK
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DECORDOVA POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
DECORDOVA POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
DECORDOVA POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
DECORDOVA POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
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DECORDOVA POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
DECORDOVA POWER COMPANY LLC                      BOKF, NA DBA BANK OF ARIZONA
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DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
DECORDOVA POWER COMPANY LLC                      WILMINGTON SAVINGS FUND SOCIETY, FSB
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DECORDOVA POWER COMPANY LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
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                                                 NEW YORK, NY 10017
DECORDOVA POWER COMPANY LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017




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            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 46 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                   Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
EAGLE MOUNTAIN POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
EAGLE MOUNTAIN POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
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                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
EAGLE MOUNTAIN POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
EAGLE MOUNTAIN POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
EAGLE MOUNTAIN POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
EAGLE MOUNTAIN POWER COMPANY LLC                 BOKF, NA DBA BANK OF ARIZONA
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DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
EAGLE MOUNTAIN POWER COMPANY LLC                 WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
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                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801




                                          Page 11 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 47 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                   Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
EAGLE MOUNTAIN POWER COMPANY LLC                 LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
EAGLE MOUNTAIN POWER COMPANY LLC                 LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
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ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
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                                                 MINNEAPOLIS, MN 55402
ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
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DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
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ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
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ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
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                                                 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




                                          Page 12 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 48 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC   BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC   WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
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                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC   LAW DEBENTURE TRUST COMPANY OF NEW YORK
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DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC   LAW DEBENTURE TRUST COMPANY OF NEW YORK
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                                                 NEW YORK, NY 10017
GENERATION MT COMPANY LLC                        WILMINGTON TRUST, N.A.
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GENERATION MT COMPANY LLC                        WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
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                                         Page 13 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 49 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

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                                                 PHOENIX, AZ 85016
GENERATION MT COMPANY LLC                        WILMINGTON SAVINGS FUND SOCIETY, FSB
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                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
GENERATION SVC COMPANY                           WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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GENERATION SVC COMPANY                           WILMINGTON TRUST, N.A.
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                                         Page 14 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 50 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

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GENERATION SVC COMPANY                           WILMINGTON TRUST, N.A.
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                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
GENERATION SVC COMPANY                           WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
GENERATION SVC COMPANY                           WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
GENERATION SVC COMPANY                           BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
GENERATION SVC COMPANY                           WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
GENERATION SVC COMPANY                           LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
GENERATION SVC COMPANY                           LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017




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            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 51 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                 Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
LAKE CREEK 3 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LAKE CREEK 3 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LAKE CREEK 3 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LAKE CREEK 3 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LAKE CREEK 3 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LAKE CREEK 3 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LAKE CREEK 3 POWER COMPANY LLC                   BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
LAKE CREEK 3 POWER COMPANY LLC                   WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801




                                         Page 16 of 48
            Case 14-10979-CSS           Doc 1285     Filed 06/30/14      Page 52 of 84


In re: Oak Grove Mining Company LLC                                          Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                        Name and Address of Creditor
LAKE CREEK 3 POWER COMPANY LLC                     LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                  10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                   2016
                                                   ATTN: FRANK GODINO, VICE PRESIDENT
                                                   400 MADISON AVENUE, SUITE 4D
                                                   NEW YORK, NY 10017
LAKE CREEK 3 POWER COMPANY LLC                     LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                  10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                   (SERIES A AND B)
                                                   ATTN: FRANK GODINO, VICE PRESIDENT
                                                   400 MADISON AVENUE, SUITE 4D
                                                   NEW YORK, NY 10017
LUMINANT BIG BROWN MINING COMPANY LLC              WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                   OF OCTOBER 10, 2014
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT BIG BROWN MINING COMPANY LLC              WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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                                                   ATTN: JEFFREY T. ROSE
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                                                   MINNEAPOLIS, MN 55402
LUMINANT BIG BROWN MINING COMPANY LLC              WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                   OF OCTOBER 10, 2017 (INCREMENTAL)
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT BIG BROWN MINING COMPANY LLC              WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                   AS SUCCESSOR TRUSTEE
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT BIG BROWN MINING COMPANY LLC              WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
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                                                   ATTN: JEFFREY T. ROSE
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                                                   MINNEAPOLIS, MN 55402
LUMINANT BIG BROWN MINING COMPANY LLC              WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                   2017
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402




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            Case 14-10979-CSS           Doc 1285     Filed 06/30/14      Page 53 of 84


In re: Oak Grove Mining Company LLC                                          Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                        Name and Address of Creditor
LUMINANT BIG BROWN MINING COMPANY LLC              BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                  11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                   2020
                                                   ATTN: CYNDI WILKINSON
                                                   SENIOR VICE PRESIDENT
                                                   3001 EAST CAMELBACK ROAD, SUITE 100
                                                   PHOENIX, AZ 85016
LUMINANT BIG BROWN MINING COMPANY LLC              WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                  (CHRISTIANA TRUST)
DALLAS, TX 75201                                   15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                   APRIL 1, 2021 (SERIES A AND B)
                                                   ATTN: PATRICK HEALY - VP, DIRECTOR
                                                   SERVICES, 500 DELAWARE AVE.
                                                   WILMINGTON, DE 19801
LUMINANT BIG BROWN MINING COMPANY LLC              LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                  10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                   2016
                                                   ATTN: FRANK GODINO, VICE PRESIDENT
                                                   400 MADISON AVENUE, SUITE 4D
                                                   NEW YORK, NY 10017
LUMINANT BIG BROWN MINING COMPANY LLC              LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                  10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                   (SERIES A AND B)
                                                   ATTN: FRANK GODINO, VICE PRESIDENT
                                                   400 MADISON AVENUE, SUITE 4D
                                                   NEW YORK, NY 10017
LUMINANT ENERGY COMPANY LLC                        WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                   OF OCTOBER 10, 2014
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT ENERGY COMPANY LLC                        WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT ENERGY COMPANY LLC                        WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                   OF OCTOBER 10, 2017 (INCREMENTAL)
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT ENERGY COMPANY LLC                        WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                   AS SUCCESSOR TRUSTEE
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402




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            Case 14-10979-CSS         Doc 1285        Filed 06/30/14     Page 54 of 84


In re: Oak Grove Mining Company LLC                                          Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                        Name and Address of Creditor
LUMINANT ENERGY COMPANY LLC                        WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                   2014
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT ENERGY COMPANY LLC                        WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                   2017
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT ENERGY COMPANY LLC                        BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                  11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                   2020
                                                   ATTN: CYNDI WILKINSON
                                                   SENIOR VICE PRESIDENT
                                                   3001 EAST CAMELBACK ROAD, SUITE 100
                                                   PHOENIX, AZ 85016
LUMINANT ENERGY COMPANY LLC                        WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                  (CHRISTIANA TRUST)
DALLAS, TX 75201                                   15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                   APRIL 1, 2021 (SERIES A AND B)
                                                   ATTN: PATRICK HEALY - VP, DIRECTOR
                                                   SERVICES, 500 DELAWARE AVE.
                                                   WILMINGTON, DE 19801
LUMINANT ENERGY COMPANY LLC                        LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                  10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                   2016
                                                   ATTN: FRANK GODINO, VICE PRESIDENT
                                                   400 MADISON AVENUE, SUITE 4D
                                                   NEW YORK, NY 10017
LUMINANT ENERGY COMPANY LLC                        LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                  10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                   (SERIES A AND B)
                                                   ATTN: FRANK GODINO, VICE PRESIDENT
                                                   400 MADISON AVENUE, SUITE 4D
                                                   NEW YORK, NY 10017
LUMINANT ENERGY TRADING CALIFORNIA COMPANY         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                   OF OCTOBER 10, 2014
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT ENERGY TRADING CALIFORNIA COMPANY         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                   OF OCTOBER 10, 2017
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402




                                             Page 19 of 48
            Case 14-10979-CSS         Doc 1285        Filed 06/30/14     Page 55 of 84


In re: Oak Grove Mining Company LLC                                          Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                        Name and Address of Creditor
LUMINANT ENERGY TRADING CALIFORNIA COMPANY         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                   OF OCTOBER 10, 2017 (INCREMENTAL)
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT ENERGY TRADING CALIFORNIA COMPANY         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                   AS SUCCESSOR TRUSTEE
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT ENERGY TRADING CALIFORNIA COMPANY         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                   2014
                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT ENERGY TRADING CALIFORNIA COMPANY         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                  AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                   4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
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                                                   ATTN: JEFFREY T. ROSE
                                                   50 SOUTH SIXTH STREET, SUITE 1290
                                                   MINNEAPOLIS, MN 55402
LUMINANT ENERGY TRADING CALIFORNIA COMPANY         BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                  11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                   2020
                                                   ATTN: CYNDI WILKINSON
                                                   SENIOR VICE PRESIDENT
                                                   3001 EAST CAMELBACK ROAD, SUITE 100
                                                   PHOENIX, AZ 85016
LUMINANT ENERGY TRADING CALIFORNIA COMPANY         WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                  (CHRISTIANA TRUST)
DALLAS, TX 75201                                   15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                   APRIL 1, 2021 (SERIES A AND B)
                                                   ATTN: PATRICK HEALY - VP, DIRECTOR
                                                   SERVICES, 500 DELAWARE AVE.
                                                   WILMINGTON, DE 19801
LUMINANT ENERGY TRADING CALIFORNIA COMPANY         LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                  10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                   2016
                                                   ATTN: FRANK GODINO, VICE PRESIDENT
                                                   400 MADISON AVENUE, SUITE 4D
                                                   NEW YORK, NY 10017
LUMINANT ENERGY TRADING CALIFORNIA COMPANY         LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                  10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                   (SERIES A AND B)
                                                   ATTN: FRANK GODINO, VICE PRESIDENT
                                                   400 MADISON AVENUE, SUITE 4D
                                                   NEW YORK, NY 10017




                                             Page 20 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 56 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
LUMINANT ET SERVICES COMPANY                     WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT ET SERVICES COMPANY                     WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT ET SERVICES COMPANY                     WILMINGTON TRUST, N.A.
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                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT ET SERVICES COMPANY                     WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT ET SERVICES COMPANY                     WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
LUMINANT ET SERVICES COMPANY                     WILMINGTON TRUST, N.A.
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LUMINANT ET SERVICES COMPANY                     BOKF, NA DBA BANK OF ARIZONA
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DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
LUMINANT ET SERVICES COMPANY                     WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801




                                         Page 21 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 57 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
LUMINANT ET SERVICES COMPANY                     LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
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                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
LUMINANT ET SERVICES COMPANY                     LAW DEBENTURE TRUST COMPANY OF NEW YORK
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DALLAS, TX 75201                                 (SERIES A AND B)
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                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
LUMINANT GENERATION COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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LUMINANT GENERATION COMPANY LLC                  WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
LUMINANT GENERATION COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT GENERATION COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT GENERATION COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT GENERATION COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
LUMINANT GENERATION COMPANY LLC                  BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
LUMINANT GENERATION COMPANY LLC                  WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
LUMINANT GENERATION COMPANY LLC                  LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
LUMINANT GENERATION COMPANY LLC                  LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
LUMINANT HOLDING COMPANY LLC                     WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT HOLDING COMPANY LLC                     WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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LUMINANT HOLDING COMPANY LLC                     WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
LUMINANT HOLDING COMPANY LLC                     WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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            Case 14-10979-CSS         Doc 1285      Filed 06/30/14     Page 59 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                 Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
LUMINANT HOLDING COMPANY LLC                     WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT HOLDING COMPANY LLC                     WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
LUMINANT HOLDING COMPANY LLC                     BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
LUMINANT HOLDING COMPANY LLC                     WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
LUMINANT HOLDING COMPANY LLC                     LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
LUMINANT HOLDING COMPANY LLC                     LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
LUMINANT MINERAL DEVELOPMENT COMPANY LLC         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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                                                 MINNEAPOLIS, MN 55402
LUMINANT MINERAL DEVELOPMENT COMPANY LLC         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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            Case 14-10979-CSS         Doc 1285      Filed 06/30/14     Page 60 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                 Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
LUMINANT MINERAL DEVELOPMENT COMPANY LLC         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
LUMINANT MINERAL DEVELOPMENT COMPANY LLC         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT MINERAL DEVELOPMENT COMPANY LLC         WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
LUMINANT MINERAL DEVELOPMENT COMPANY LLC         WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT MINERAL DEVELOPMENT COMPANY LLC         BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
LUMINANT MINERAL DEVELOPMENT COMPANY LLC         WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
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                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
LUMINANT MINERAL DEVELOPMENT COMPANY LLC         LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
LUMINANT MINERAL DEVELOPMENT COMPANY LLC         LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017




                                           Page 25 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 61 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
LUMINANT MINING COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
LUMINANT MINING COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT MINING COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
LUMINANT MINING COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT MINING COMPANY LLC                      WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
LUMINANT MINING COMPANY LLC                      WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT MINING COMPANY LLC                      BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
LUMINANT MINING COMPANY LLC                      WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801




                                         Page 26 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 62 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
LUMINANT MINING COMPANY LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
LUMINANT MINING COMPANY LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
LUMINANT RENEWABLES COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
LUMINANT RENEWABLES COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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                                                 MINNEAPOLIS, MN 55402
LUMINANT RENEWABLES COMPANY LLC                  WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
LUMINANT RENEWABLES COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
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LUMINANT RENEWABLES COMPANY LLC                  WILMINGTON TRUST, N.A.
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LUMINANT RENEWABLES COMPANY LLC                  WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402




                                         Page 27 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 63 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
LUMINANT RENEWABLES COMPANY LLC                  BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
LUMINANT RENEWABLES COMPANY LLC                  WILMINGTON SAVINGS FUND SOCIETY, FSB
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                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
LUMINANT RENEWABLES COMPANY LLC                  LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
LUMINANT RENEWABLES COMPANY LLC                  LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
MARTIN LAKE 4 POWER COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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MARTIN LAKE 4 POWER COMPANY LLC                  WILMINGTON TRUST, N.A.
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MARTIN LAKE 4 POWER COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402




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            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 64 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
MARTIN LAKE 4 POWER COMPANY LLC                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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MARTIN LAKE 4 POWER COMPANY LLC                  WILMINGTON TRUST, N.A.
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MARTIN LAKE 4 POWER COMPANY LLC                  BOKF, NA DBA BANK OF ARIZONA
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                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
MARTIN LAKE 4 POWER COMPANY LLC                  WILMINGTON SAVINGS FUND SOCIETY, FSB
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MARTIN LAKE 4 POWER COMPANY LLC                  LAW DEBENTURE TRUST COMPANY OF NEW YORK
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MONTICELLO 4 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
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MONTICELLO 4 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




                                         Page 29 of 48
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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                 Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
MONTICELLO 4 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
MONTICELLO 4 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
MONTICELLO 4 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
MONTICELLO 4 POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
MONTICELLO 4 POWER COMPANY LLC                   BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
MONTICELLO 4 POWER COMPANY LLC                   WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
MONTICELLO 4 POWER COMPANY LLC                   LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
MONTICELLO 4 POWER COMPANY LLC                   LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                   Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
MORGAN CREEK 7 POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
MORGAN CREEK 7 POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
MORGAN CREEK 7 POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
MORGAN CREEK 7 POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
MORGAN CREEK 7 POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
MORGAN CREEK 7 POWER COMPANY LLC                 WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
MORGAN CREEK 7 POWER COMPANY LLC                 BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
MORGAN CREEK 7 POWER COMPANY LLC                 WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                   Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
MORGAN CREEK 7 POWER COMPANY LLC                 LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
MORGAN CREEK 7 POWER COMPANY LLC                 LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
NCA RESOURCES DEVELOPMENT COMPANY LLC            WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
NCA RESOURCES DEVELOPMENT COMPANY LLC            WILMINGTON TRUST, N.A.
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NCA RESOURCES DEVELOPMENT COMPANY LLC            WILMINGTON TRUST, N.A.
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NCA RESOURCES DEVELOPMENT COMPANY LLC            WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
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NCA RESOURCES DEVELOPMENT COMPANY LLC            WILMINGTON TRUST, N.A.
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                                                 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                   Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
NCA RESOURCES DEVELOPMENT COMPANY LLC            BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
NCA RESOURCES DEVELOPMENT COMPANY LLC            WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
NCA RESOURCES DEVELOPMENT COMPANY LLC            LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
NCA RESOURCES DEVELOPMENT COMPANY LLC            LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
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                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
OAK GROVE MANAGEMENT COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 MINNEAPOLIS, MN 55402
OAK GROVE MANAGEMENT COMPANY LLC                 WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
OAK GROVE MANAGEMENT COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 MINNEAPOLIS, MN 55402
OAK GROVE MANAGEMENT COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




                                          Page 33 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 69 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                   Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
OAK GROVE MANAGEMENT COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
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                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
OAK GROVE MANAGEMENT COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
OAK GROVE MANAGEMENT COMPANY LLC                 BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
OAK GROVE MANAGEMENT COMPANY LLC                 WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
OAK GROVE MANAGEMENT COMPANY LLC                 LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
OAK GROVE MANAGEMENT COMPANY LLC                 LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
OAK GROVE POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
OAK GROVE POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 70 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
OAK GROVE POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
OAK GROVE POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
OAK GROVE POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
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OAK GROVE POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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                                                 MINNEAPOLIS, MN 55402
OAK GROVE POWER COMPANY LLC                      BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
OAK GROVE POWER COMPANY LLC                      WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
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                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
OAK GROVE POWER COMPANY LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
OAK GROVE POWER COMPANY LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017




                                         Page 35 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 71 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
SANDOW POWER COMPANY LLC                         WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
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SANDOW POWER COMPANY LLC                         WILMINGTON TRUST, N.A.
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SANDOW POWER COMPANY LLC                         WILMINGTON TRUST, N.A.
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SANDOW POWER COMPANY LLC                         BOKF, NA DBA BANK OF ARIZONA
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                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801




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In re: Oak Grove Mining Company LLC                                         Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

         Name and Address of Co-Debtor                      Name and Address of Creditor
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SANDOW POWER COMPANY LLC                          LAW DEBENTURE TRUST COMPANY OF NEW YORK
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                                                  400 MADISON AVENUE, SUITE 4D
                                                  NEW YORK, NY 10017
TCEH FINANCE, INC.                                BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                 11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                  2020
                                                  ATTN: CYNDI WILKINSON
                                                  SENIOR VICE PRESIDENT
                                                  3001 EAST CAMELBACK ROAD, SUITE 100
                                                  PHOENIX, AZ 85016
TCEH FINANCE, INC.                                WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                 (CHRISTIANA TRUST)
DALLAS, TX 75201                                  15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                  APRIL 1, 2021 (SERIES A AND B)
                                                  ATTN: PATRICK HEALY - VP, DIRECTOR
                                                  SERVICES, 500 DELAWARE AVE.
                                                  WILMINGTON, DE 19801
TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                 AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                  3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                  OF OCTOBER 10, 2014
                                                  ATTN: JEFFREY T. ROSE
                                                  50 SOUTH SIXTH STREET, SUITE 1290
                                                  MINNEAPOLIS, MN 55402
TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                 AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                  4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                  OF OCTOBER 10, 2017
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                                                  50 SOUTH SIXTH STREET, SUITE 1290
                                                  MINNEAPOLIS, MN 55402
TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                 AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                  4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                  OF OCTOBER 10, 2017 (INCREMENTAL)
                                                  ATTN: JEFFREY T. ROSE
                                                  50 SOUTH SIXTH STREET, SUITE 1290
                                                  MINNEAPOLIS, MN 55402
TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                 TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                  AS SUCCESSOR TRUSTEE
                                                  ATTN: JEFFREY T. ROSE
                                                  50 SOUTH SIXTH STREET, SUITE 1290
                                                  MINNEAPOLIS, MN 55402




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In re: Oak Grove Mining Company LLC                                         Case No. 14-11024 (CSS)


                                  Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                       Name and Address of Creditor
TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                 AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                  3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                  2014
                                                  ATTN: JEFFREY T. ROSE
                                                  50 SOUTH SIXTH STREET, SUITE 1290
                                                  MINNEAPOLIS, MN 55402
TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC   WILMINGTON TRUST, N.A.
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                                                  MINNEAPOLIS, MN 55402
TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC   BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                 11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                  2020
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                                                  SENIOR VICE PRESIDENT
                                                  3001 EAST CAMELBACK ROAD, SUITE 100
                                                  PHOENIX, AZ 85016
TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC   WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                 (CHRISTIANA TRUST)
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                                                  ATTN: PATRICK HEALY - VP, DIRECTOR
                                                  SERVICES, 500 DELAWARE AVE.
                                                  WILMINGTON, DE 19801
TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC   LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                 10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                  2016
                                                  ATTN: FRANK GODINO, VICE PRESIDENT
                                                  400 MADISON AVENUE, SUITE 4D
                                                  NEW YORK, NY 10017
TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC   LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                 10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                  (SERIES A AND B)
                                                  ATTN: FRANK GODINO, VICE PRESIDENT
                                                  400 MADISON AVENUE, SUITE 4D
                                                  NEW YORK, NY 10017
TRADINGHOUSE 3 & 4 POWER COMPANY LLC              WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                 AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                  3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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TRADINGHOUSE 3 & 4 POWER COMPANY LLC              WILMINGTON TRUST, N.A.
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                                                  50 SOUTH SIXTH STREET, SUITE 1290
                                                  MINNEAPOLIS, MN 55402




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            Case 14-10979-CSS          Doc 1285     Filed 06/30/14      Page 74 of 84


In re: Oak Grove Mining Company LLC                                         Case No. 14-11024 (CSS)


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TRADINGHOUSE 3 & 4 POWER COMPANY LLC              WILMINGTON TRUST, N.A.
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TRADINGHOUSE 3 & 4 POWER COMPANY LLC              WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                 TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                  AS SUCCESSOR TRUSTEE
                                                  ATTN: JEFFREY T. ROSE
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                                                  MINNEAPOLIS, MN 55402
TRADINGHOUSE 3 & 4 POWER COMPANY LLC              WILMINGTON TRUST, N.A.
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TRADINGHOUSE 3 & 4 POWER COMPANY LLC              WILMINGTON TRUST, N.A.
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                                                  MINNEAPOLIS, MN 55402
TRADINGHOUSE 3 & 4 POWER COMPANY LLC              BOKF, NA DBA BANK OF ARIZONA
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                                                  ATTN: CYNDI WILKINSON
                                                  SENIOR VICE PRESIDENT
                                                  3001 EAST CAMELBACK ROAD, SUITE 100
                                                  PHOENIX, AZ 85016
TRADINGHOUSE 3 & 4 POWER COMPANY LLC              WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                 (CHRISTIANA TRUST)
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                                                  ATTN: PATRICK HEALY - VP, DIRECTOR
                                                  SERVICES, 500 DELAWARE AVE.
                                                  WILMINGTON, DE 19801
TRADINGHOUSE 3 & 4 POWER COMPANY LLC              LAW DEBENTURE TRUST COMPANY OF NEW YORK
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                                                  NEW YORK, NY 10017
TRADINGHOUSE 3 & 4 POWER COMPANY LLC              LAW DEBENTURE TRUST COMPANY OF NEW YORK
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                                                  ATTN: FRANK GODINO, VICE PRESIDENT
                                                  400 MADISON AVENUE, SUITE 4D
                                                  NEW YORK, NY 10017




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            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 75 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                 Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
TRADINGHOUSE POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
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                                                 MINNEAPOLIS, MN 55402
TRADINGHOUSE POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
TRADINGHOUSE POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
TRADINGHOUSE POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
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                                                 MINNEAPOLIS, MN 55402
TRADINGHOUSE POWER COMPANY LLC                   WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
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                                                 MINNEAPOLIS, MN 55402
TRADINGHOUSE POWER COMPANY LLC                   BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
TRADINGHOUSE POWER COMPANY LLC                   WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801




                                         Page 40 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 76 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                 Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
TRADINGHOUSE POWER COMPANY LLC                   LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
TRADINGHOUSE POWER COMPANY LLC                   LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
TXU ENERGY RETAIL COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
TXU ENERGY RETAIL COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
TXU ENERGY RETAIL COMPANY LLC                    WILMINGTON TRUST, N.A.
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DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
TXU ENERGY RETAIL COMPANY LLC                    WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
TXU ENERGY RETAIL COMPANY LLC                    WILMINGTON TRUST, N.A.
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TXU ENERGY RETAIL COMPANY LLC                    WILMINGTON TRUST, N.A.
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                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




                                         Page 41 of 48
            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 77 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                   Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
TXU ENERGY RETAIL COMPANY LLC                    BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
TXU ENERGY RETAIL COMPANY LLC                    WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
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                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
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TXU ENERGY RETAIL COMPANY LLC                    LAW DEBENTURE TRUST COMPANY OF NEW YORK
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DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
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                                                 NEW YORK, NY 10017
TXU ENERGY RETAIL COMPANY LLC                    LAW DEBENTURE TRUST COMPANY OF NEW YORK
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                                                 ATTN: FRANK GODINO, VICE PRESIDENT
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TXU ENERGY SOLUTIONS COMPANY LLC                 WILMINGTON TRUST, N.A.
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TXU ENERGY SOLUTIONS COMPANY LLC                 WILMINGTON TRUST, N.A.
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TXU ENERGY SOLUTIONS COMPANY LLC                 WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402




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            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 78 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                   Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
TXU ENERGY SOLUTIONS COMPANY LLC                 WILMINGTON TRUST, N.A.
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TXU ENERGY SOLUTIONS COMPANY LLC                 WILMINGTON SAVINGS FUND SOCIETY, FSB
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            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 79 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

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                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
TXU RETAIL SERVICES COMPANY                      BOKF, NA DBA BANK OF ARIZONA
1601 BRYAN STREET                                11.5% FIXED SENIOR SECURED NOTES DUE OCTOBER 1,
DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
TXU RETAIL SERVICES COMPANY                      WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
DALLAS, TX 75201                                 15% FIXED SENIOR SECURED SECOND LIEN NOTES DUE
                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801
TXU RETAIL SERVICES COMPANY                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
TXU RETAIL SERVICES COMPANY                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.25% FIXED SENIOR NOTES DUE NOVEMBER 1, 2015
DALLAS, TX 75201                                 (SERIES A AND B)
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

        Name and Address of Co-Debtor                      Name and Address of Creditor
TXU SEM COMPANY                                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
TXU SEM COMPANY                                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
TXU SEM COMPANY                                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 4.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
                                                 OF OCTOBER 10, 2017 (INCREMENTAL)
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
TXU SEM COMPANY                                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                TCEH REVOLVING CREDIT FACILITY
DALLAS, TX 75201                                 AS SUCCESSOR TRUSTEE
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
TXU SEM COMPANY                                  WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.7356% LETTER OF CREDIT (L/C) FACILITY, DUE OCTOBER
                                                 2014
                                                 ATTN: JEFFREY T. ROSE
                                                 50 SOUTH SIXTH STREET, SUITE 1290
                                                 MINNEAPOLIS, MN 55402
TXU SEM COMPANY                                  WILMINGTON TRUST, N.A.
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TXU SEM COMPANY                                  BOKF, NA DBA BANK OF ARIZONA
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DALLAS, TX 75201                                 2020
                                                 ATTN: CYNDI WILKINSON
                                                 SENIOR VICE PRESIDENT
                                                 3001 EAST CAMELBACK ROAD, SUITE 100
                                                 PHOENIX, AZ 85016
TXU SEM COMPANY                                  WILMINGTON SAVINGS FUND SOCIETY, FSB
1601 BRYAN STREET                                (CHRISTIANA TRUST)
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                                                 APRIL 1, 2021 (SERIES A AND B)
                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
                                                 SERVICES, 500 DELAWARE AVE.
                                                 WILMINGTON, DE 19801




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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


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TXU SEM COMPANY                                  LAW DEBENTURE TRUST COMPANY OF NEW YORK
1601 BRYAN STREET                                10.50% / 11.25% SENIOR TOGGLE NOTES DUE NOVEMBER 1,
DALLAS, TX 75201                                 2016
                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
TXU SEM COMPANY                                  LAW DEBENTURE TRUST COMPANY OF NEW YORK
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                                                 ATTN: FRANK GODINO, VICE PRESIDENT
                                                 400 MADISON AVENUE, SUITE 4D
                                                 NEW YORK, NY 10017
VALLEY NG POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
1601 BRYAN STREET                                AS SUCCESSOR TRUSTEE
DALLAS, TX 75201                                 3.737% TCEH TERM LOAN FACILITIES WITH MATURITY DATE
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                                                 MINNEAPOLIS, MN 55402
VALLEY NG POWER COMPANY LLC                      WILMINGTON TRUST, N.A.
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                                                 MINNEAPOLIS, MN 55402
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In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

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VALLEY NG POWER COMPANY LLC                      BOKF, NA DBA BANK OF ARIZONA
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                                                 ATTN: PATRICK HEALY - VP, DIRECTOR
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VALLEY NG POWER COMPANY LLC                      LAW DEBENTURE TRUST COMPANY OF NEW YORK
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            Case 14-10979-CSS         Doc 1285     Filed 06/30/14      Page 83 of 84


In re: Oak Grove Mining Company LLC                                        Case No. 14-11024 (CSS)


                                Schedule H - Co-Debtor Rider

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